~AO 245B      (Rev. 12/03) Judgment in a Criminal Case
    "ICED     Sheet I



                                         UNITED STATES DISTRICT COURT
                         Eastern                                      District of                               North Carolina

            UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              V.
            SYLVESTER D. JONES, JR.                                           Case Number: 4:06-CR-36-2F

                                                                              USM Number:25469-056

                                                                              Samuel J. Randall, IV
                                                                              Defendant's Attorney
THE DEFENDANT:
t'i pleaded guilty to counl(s)      9 (Third Superseding Indictment)

o pleaded nolo contendere to count(s)
   wh ich was accepted by the court.
o was found guilty on eount(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                                   Offense Ended
18 U.S.C. § 924(c)(1)(A) and 2                    Discharge of a Firearm During and in Relation to a Crime of          71212006         gsss
                                                  Violence and Aiding and Abetting




       The defendant is sentenced as provided in pages 2 through               _ _6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
~ Counl(s)      6,7,8 of 2nd & 3rd Sup. Indict.             0 is      ~ are dismissed on the motion of the United Stales.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, eosts, and special assessments imposed by this judgment are fully paid. [fordered to pay restitution,
the defendant must notify the eourt and United States attorney of material changes in eeonomlC circumstances.

  Sentencing Location:                                                        6/10/2008
   Wilmington, NC                                                              Date ofImposition of Judgment




                                                                              otureOfJudge




                                                                                JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                               Name and Title of Judge


                                                                              6/10/2008
                                                                               Date




                    Case 4:06-cr-00036-BO                       Document 169                Filed 06/10/08          Page 1 of 6
AO 2458        (Rev. 12/03) Judgment in Criminal Case
     NeED      Sheet 2 - Imprisonment

                                                                                                           Judgment - Page _~2,--_ of   6
DEFENDANT: SYLVESTER D. JONES, JR.
CASE NUMBER: 4:06-CR-36-2F


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:

 300 MONTHS



     o The court makes the following recommendations to the Bureau of Prisons:


     i6 The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before p.m. on
        o as notified by the United States Marshal.
            o as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




            Defendant delivered on                                                             to

 a                                                      _   with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL




                        Case 4:06-cr-00036-BO                    Document 169              Filed 06/10/08        Page 2 of 6
A0245B     (Rev. 12/03) Judgrru.:nt in a Criminal Case
   NeED    Sheet 3 -   Supervised Rdease
                                                                                                       Judgment-Page   ----3....- of       6
DEFENDANT: SYLVESTER D. JONES, JR.
CASE NUMBER: 4:06-CR-36-2F
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall he on supervised release for a tenn of:
  5 YEARS
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or IDeal crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detennined by the court.
      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
      substance abuse.
      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)

o    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attaehed page.
                                              STANDARD CONDITIONS OF SUPERVISION
 1.   The defendant shall not leave the judicial district or other specified geographic area without the pennission of the court or probation
      officer.
 2.   The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
      complete written report within the first five (5) days of each month.
 3.   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.    The defendant shall support the defendant's dependents and meet other family responsibilities.
 5.   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
      acceptable reasons.
 6.   The defendant shall notifY the probation offieer at least then (10) days prior to any change ofresidence or employment.
 7.   The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
      substance, or any paraphernalia related to any eontrolled substance, except as prescribed by a physician.
 8.   The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
      places specified by the court.
 9.   The defendant shall not associate with any persons engaged in eriminal activity, and shall not associate with any person eonvicted of
      a felony unless granted permission to do so by the probation officer.
 10. The defendant shall pennit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiseation of
     any contraband observed in plain view by the probation officer.
 11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
 12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court.
 13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics, and shan permIt the probation officer to make such notifications and to confirm
     the defendant's compliance with such notification requirement.




                       Case 4:06-cr-00036-BO               Document 169            Filed 06/10/08            Page 3 of 6
A0245B    (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 3A ~ Supervised Release
                                                                                           Judgment-Page   ---!...- of       6
DEFENDANT: SYLVESTER D. JONES, JR.
CASE NUMBER: 4:06-CR-36-2F

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall submit to a urinalysis test within fifteen days of release from imprisonment, and at least two periodic
 urinalysis tests thereafter, as directed by the probation officer pursuant to 18 U.S.C. § 3608.




                 Case 4:06-cr-00036-BO               Document 169         Filed 06/10/08         Page 4 of 6
AD 245B   (Rev. 12/03) Judgment in a Criminal Case
  NeED    Sheet 5 - Criminal Monetary Penalties
                                                                                                 Judgment -   Page     5      of       6
DEFENDANT: SYLVESTER D. JONES, JR.
CASE NUMBER: 4:06-CR-36-2F
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                           Restitution
TOTALS            $ 100.00                                        $                                  $



o The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately pr020rtioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is pald.

Name of Payee                                                         Iotalltoss*         Restitution Ordered        Priority or Percentage




                                 TOT~A"L,,-S                  _                  $0.00                    $0.00


o Restitution amount ordered pursuant to plea agreement $
o The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the 0 fine 0 restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A ofTitle ]8 for offenses committed on or after
September 13. 1994, but before April 23, 1996.




                  Case 4:06-cr-00036-BO                  Document 169               Filed 06/10/08            Page 5 of 6
AD 245B    (Rev. 12/03) Judgment in a Criminal Case
  NeED     Sheet 6 - Schedule of Payments

                                                                                                                     Judgment - Page    ---..fi- of            6
DEFENDANT: SYLVESTER D. JONES, JR.
CASE NUMBER: 4:06-CR-36-2F

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    0    Lump sum payment of $ ________ due immediately, balance due

          D      not later than                                         , or
          D      in accordance           o C,         0    D,     o       E, or    0 F below; or
B    D    Payment to begin immediately (may be combined with                      DC,         D D, or        D F below); or
C    D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ~ Special instructions regarding the payment of criminal monetary penalties:
           The special assessment imposed shall be due in full immediately.
           Payment of restitution shall be due in full immediately. However, if the defendant is unable to pay in full immediately, the special assessment and
           restitution may be paid lhrough the Inmate Financial Responsibility Program. The court, having considered the defendant's financial resources and
           ability to pay, orders that any balance still owed al the time of release shall be paid in installments of $50 per month to begin 60 days after the
           defendant's release from prison. At the time of the defendant's release. the probation officer shall take into consideration the defendant's ability to
           pay the restitution ordered and shall notify the court of any needed modification of the payment schedule.


Unless the court has expressly ordcrcd otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminaI monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

o The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order:         (1/
                                                        assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution. (7) pena ties, and (8) costs, including cost of prosecution and court costs.




                   Case 4:06-cr-00036-BO                         Document 169                  Filed 06/10/08               Page 6 of 6
